                                                 Case 4:08-cv-04567-CW Document 502 Filed 05/03/12 Page 1 of 10




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                                           4                    IN THE UNITED STATES DISTRICT COURT

                                           5                  FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                               MONOLITHIC POWER SYSTEMS, INC.,                     No. C 08-4567 CW
                                           9
                                                         Plaintiff,                                ORDER GRANTING
                                          10                                                       MPS' MOTION FOR
                                                    v.                                             ATTORNEYS' FEES
For the Northern District of California




                                          11                                                       AND NON-TAXABLE
                                               02 MICRO INTERNATIONAL LIMITED,                     COSTS
    United States District Court




                                          12
                                                         Defendant.
                                          13   ________________________________/
                                          14   02 MICRO INTERNATIONAL LIMITED,
                                          15             Counterclaimant,
                                                    v.
                                          16
                                               MONOLITHIC POWER SYSTEMS, INC.;
                                          17   ASUSTEK COMPUTER INC.; ASUSTEK
                                               COMPUTER INTERNATIONAL AMERICA;
                                          18   BENQ CORPORATION; AND BENQ AMERICA
                                               CORP.,
                                          19
                                                        Counterclaim-Defendants
                                          20   __________________________________/
                                          21
                                                    Plaintiffs and Counterclaim-Defendants Monolithic Power
                                          22

                                          23   Systems, Inc., Asustek Computer and ASUS Computer International

                                          24   (together, MPS) have recalculated their attorneys' fees request in

                                          25   accordance with the Court's January 17, 2012 Order.         Defendant and
                                          26   Counterclaimant 02 Micro International Limited (02 Micro) has
                                          27
                                               filed a response and MPS has filed a reply.        The matter was taken
                                          28
                                                 Case 4:08-cv-04567-CW Document 502 Filed 05/03/12 Page 2 of 10



                                               under submission on the papers.      Having read all the papers filed
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                                           2   by the parties, the Court approves MPS' recalculation of its

                                           3   attorneys' fees and awards attorneys' fees in the amount of

                                           4   $8,419,429 and non-taxable costs in the amount of $663,151.
                                           5                                   BACKGROUND
                                           6
                                                     In its January 17, 2012 Order Regarding Attorneys' Fees and
                                           7
                                               Non-Taxable Costs, the Court granted MPS' request for non-taxable
                                           8
                                               costs in the amount of $663,151 and ordered MPS to recalculate its
                                           9

                                          10   attorneys' fees request in accordance with the Court's

                                               determination.   The Order (1) limited the recovery of fees for the
For the Northern District of California




                                          11
    United States District Court




                                          12   legal services of the Finnegan firm to $4,000,000 for work done
                                          13   after March 2009, in accordance with a fee cap agreement between
                                          14
                                               Finnegan and MPS; (2) limited the recovery for fees corresponding
                                          15
                                               to block-billed time entries to twenty-five percent of those fees;
                                          16
                                               and (3) granted MPS leave to file an additional fee application
                                          17
                                               for work done in preparation of the fee application.
                                          18

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                                                 Case 4:08-cv-04567-CW Document 502 Filed 05/03/12 Page 3 of 10



                                                    MPS recalculated its fee request as follows:
                                           1

                                           2   Fees generated by the Fish and                              $   281,162
                                               Richardson (FR) firm
                                           3   Fees generated by the Latham                                $3,455,333
                                               firm
                                           4   Fees generated by the Finnegan                              $   339,899
                                               firm prior to the March 2009
                                           5
                                               fee cap agreement
                                           6   Fees generated by the Finnegan                              $4,000,000
                                               firm after the March 2009 fee
                                           7   cap agreement
                                               Fees generated in preparing                                 $   343,035
                                           8   attorneys' fees application
                                           9   Total Attorneys' Fees                                       $8,419,4291

                                          10   Non-taxable costs                                           $   663,151
For the Northern District of California




                                          11   Total Fees and Non-taxable                                  $9,082,580
                                               Costs Request
    United States District Court




                                          12

                                          13
                                                    MPS clarifies that all fees requested have been discounted by
                                          14
                                               ten percent, as was assumed by the Court in the January 17, 2012
                                          15
                                               Order.   MPS documents the recalculated amounts with new
                                          16

                                          17   spreadsheets of billing records for the Finnegan and Latham firms

                                          18   adhering to the Court's instructions in the January 17, 2012

                                          19   Order.   MPS has separated its billing records into work performed
                                          20   by the Finnegan firm and work performed by the Latham firm,
                                          21
                                               including the work performed in preparing the fee application.
                                          22
                                               The billing records show that Finnegan provided $6,445,862 in
                                          23
                                               legal services after March 2009, but, in keeping with the Court's
                                          24

                                          25   directive, MPS is calculating reimbursement of $4,000,000.          MPS

                                          26
                                                    1 MPS indicates that the subtotal is $8,423,129. This
                                          27   appears to be an error; the Court calculates the subtotal to be
                                               $8,419,429.
                                          28

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                                                 Case 4:08-cv-04567-CW Document 502 Filed 05/03/12 Page 4 of 10



                                               has also provided a separate category for all the block-billed
                                           1

                                           2   time entries it previously identified and, in keeping with the

                                           3   Court's directive, has calculated reimbursement of twenty-five

                                           4   percent of the total amount.      MPS explains that the new reports
                                           5   "reflect the specific rates assigned to each time keeper at the
                                           6
                                               time each entry was made. (The rates on the original spreadsheet,
                                           7
                                               and therefore on the initial reports, reflected billing rates for
                                           8
                                               each particular individual that were the result of averaging the
                                           9

                                          10   individual's rates for 2009 and 2010)."

                                                    MPS also requests an award of interest at the legal rate on
For the Northern District of California




                                          11
    United States District Court




                                          12   the amount of $9,082,580 from March 3, 2011, the day the Court
                                          13   granted its motion for attorneys' fees pursuant to 35 U.S.C.
                                          14
                                               § 285.   02 Micro objects on several grounds to MPS' re-calculation
                                          15
                                               of its fees.
                                          16
                                                                               DISCUSSION
                                          17
                                               I. Finnegan's Fees for Preparation of Fee Application
                                          18

                                          19        02 Micro objects to the $249,834 for services performed by

                                          20   Finnegan in preparing the fee application.        02 Micro argues that

                                          21   this Court has held that recovery of work performed by Finnegan is
                                          22   limited to the $4,000,000 fee cap negotiated between the parties
                                          23
                                               on the ground that it would be inequitable to require 02 Micro to
                                          24
                                               pay MPS more in fees than MPS paid to Finnegan.         MPS responds that
                                          25
                                               Finnegan's fees for preparing the fee application were incurred
                                          26

                                          27   after dismissal of the 02 Micro infringement claims and, thus,

                                          28   were not covered by the fee cap.      See Supplemental Declaration of

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                                                 Case 4:08-cv-04567-CW Document 502 Filed 05/03/12 Page 5 of 10



                                               Finnegan partner, Scott Mosko, at ¶ 3.       MPS also asserts that it
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                                           2   has paid the $249,834 to Finnegan for its work on the fee

                                           3   application.   Id.   In its January 17, 2012 Order, the Court

                                           4   allowed MPS to submit an additional request for fees incurred in
                                           5   the preparation of its attorneys' fees application and did not
                                           6
                                               limit the fee request to work performed by Latham.         Thus, an award
                                           7
                                               of these fees will not require 02 Micro to pay MPS more than MPS
                                           8
                                               has paid to Finnegan.     Therefore, 02 Micro's objection to the
                                           9

                                          10   $249,834 for Finnegan's work in preparing the fee application is

                                               overruled.
For the Northern District of California




                                          11
    United States District Court




                                          12   II. Different Billing Rates
                                          13        02 Micro objects to the fact that MPS has altered its
                                          14
                                               attorneys' billing rates to "reflect the specific rate assigned to
                                          15
                                               each time keeper at the time each entry was made."         02 Micro
                                          16
                                               points out that the Court did not require MPS to revisit the issue
                                          17
                                               of reasonable attorney billing rates and only instructed MPS to
                                          18

                                          19   recalculate its fee request based on the hours allowed or

                                          20   disallowed.    02 Micro suggests that, to remedy this, all billing

                                          21   entries associated with MPS' recalculation be reduced by two
                                          22   percent, which amounts to $69,107, or that MPS be required to
                                          23
                                               resubmit its billing entries using the previous rates.
                                          24
                                                    MPS indicates that it used the actual rates in this fee
                                          25
                                               application "to provide the Court with an even more exact
                                          26

                                          27   accounting."   MPS explains that the net effect of using the actual

                                          28   billing rates for the years 2009 and 2010, rather than the blended

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                                                 Case 4:08-cv-04567-CW Document 502 Filed 05/03/12 Page 6 of 10



                                               rates that it used in its original fee application, was to reduce
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                                           2   the fees requested by $6,207.

                                           3        The Court did not require MPS to change the rates billed by

                                           4   each attorney.   However, because the change in the billing rates
                                           5   is minor, it represents a more accurate picture of the attorneys'
                                           6
                                               rates and it results in a reduction of total fees requested, the
                                           7
                                               Court concludes that any further reduction is not warranted.
                                           8
                                               Therefore, 02 Micro's objection to the change in billing rates is
                                           9

                                          10   overruled.

                                               III. Unreasonable Hours in Preparing Fee Application
For the Northern District of California




                                          11
    United States District Court




                                          12        02 Micro objects to the "unreasonably high number of hours"
                                          13   expended in preparing the fee application and requests a twenty-
                                          14
                                               five percent reduction of fees requested for work performed by
                                          15
                                               Latham.2   This argument is without merit.      As acknowledged by 02
                                          16
                                               Micro, the Court denied its previous request for a reduction in
                                          17
                                               fees for preparing the fee application.       The fees incurred in
                                          18

                                          19   preparing the fee application were reasonable and necessary in

                                          20   light of the fact that Latham and Finnegan were required to

                                          21   review, analyze and summarize two years of extensive billing
                                          22   records.   Therefore, 02 Micro's objection to the number of hours
                                          23
                                               expended in preparing the fee application is overruled.
                                          24

                                          25

                                          26

                                          27        2 As noted above, 02 Micro objects to all the fees requested
                                               for the work performed by Finnegan.
                                          28

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                                                 Case 4:08-cv-04567-CW Document 502 Filed 05/03/12 Page 7 of 10



                                               IV. Accrual of Post-Judgment Interest
                                           1

                                           2           02 Micro argues that MPS is not entitled to an award of

                                           3   interest from March 3, 2011, the day the Court granted MPS' motion

                                           4   for attorneys' fees, because the fees had not been quantified at
                                           5   that time.    Citing 28 U.S.C. § 1961(a), which provides that post-
                                           6
                                               judgment interest accrues from the date of entry of judgment, 02
                                           7
                                               Micro argues that interest cannot accrue until the Court enters
                                           8
                                               judgment as to the fee amount.      02 Micro also cites Special
                                           9

                                          10   Devices, Inc. v. OEA, Inc., 269 F.3d 1340, 1343 (Fed. Cir. 2001),

                                               for the proposition that there is no final judgment regarding a
For the Northern District of California




                                          11
    United States District Court




                                          12   fee award until the district court enters judgment as to the
                                          13   amount of fees.
                                          14
                                                       Special Devices is inapplicable here.      It addressed the
                                          15
                                               question of whether an unquantified award of attorneys' fees
                                          16
                                               pursuant to 35 U.S.C. § 285 is final for purposes of conferring
                                          17
                                               jurisdiction on the Federal Circuit.       Id. at 1343.    It did not
                                          18

                                          19   address when interest begins to accrue on an award of attorneys'

                                          20   fees.

                                          21           Under 28 U.S.C. § 1961(a), interest is allowed on money
                                          22   judgments in civil cases recovered in a district court accruing
                                          23
                                               "from the date of the entry of the judgment."        Courts have
                                          24
                                               interpreted this to mean that post-judgment interest is calculated
                                          25
                                               "from the date of the judgment establishing the right to the
                                          26

                                          27   award."    Takeda Chem. Indus. Ltd. v. Mylab Labs., Inc., 2007 WL

                                          28   840368, *14 (S.D.N.Y.) (attorneys' fees award under § 285); Mathis

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                                                 Case 4:08-cv-04567-CW Document 502 Filed 05/03/12 Page 8 of 10



                                               v. Spears, 857 F.2d 749, 769 (Fed. Cir. 1988) (same); Friend v.
                                           1

                                           2   Kolodzieczak, 72 F.3d 1386, 1391-92 (9th Cir. 1995) (on attorneys'

                                           3   fee award under 42 U.S.C. § 1988, post-judgment interest accrues

                                           4   from date entitlement to fees is secured, rather than from date
                                           5   exact quantity of fees is set).
                                           6
                                                    Thus, MPS is entitled to post-judgment interest on its award
                                           7
                                               of attorneys' fees and non-taxable costs accruing from March 3,
                                           8
                                               2011, the date the Court issued its order determining MPS'
                                           9

                                          10   entitlement to such an award.      This amount does not include the

                                               $343,035 in attorneys' fees subsequently incurred in the
For the Northern District of California




                                          11
    United States District Court




                                          12   preparation of the fee application, which shall accrue interest
                                          13   commencing on the date of this Order.       Interest is to be
                                          14
                                               calculated at the legal rate as set forth in 28 U.S.C. § 1961(a).
                                          15
                                               V. 02 Micro's Objection to Non-taxable Costs
                                          16
                                                    In its January 17, 2012 Order, the Court stated that 02 Micro
                                          17
                                               had not objected to MPS' request for non-taxable costs.            02 Micro
                                          18

                                          19   clarifies that it objected to non-taxable costs and cites to page

                                          20   eleven in its opposition to MPS' May 5, 2011 submission

                                          21   documenting fees and costs, in which 02 Micro stated, "The court
                                          22   has previously ruled that discovery costs not solely related to
                                          23
                                               the ITC investigation are recoverable.       02 disagrees and preserves
                                          24
                                               its objection for appeal, but even without challenging that
                                          25
                                               decision, it is clear that fees related to work on issues that
                                          26

                                          27   were in no way part of this case should not be awarded."           02 Micro

                                          28   also points to a footnote on the same page in which it stated, "02

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                                                 Case 4:08-cv-04567-CW Document 502 Filed 05/03/12 Page 9 of 10



                                               also separately objects to any ITC Discovery costs incurred before
                                           1

                                           2   this Court entered the order allowing parties to use ITC discovery

                                           3   in this case.   Until that order issued, the parties' discovery

                                           4   efforts could not have been considered to be related to this case.
                                           5   Those costs total $341,100.05."
                                           6
                                                     The Court acknowledges that 02 Micro objects to MPS' request
                                           7
                                               for non-taxable costs, but overrules the objection.
                                           8
                                                     VI. Payment of Taxable Costs
                                           9

                                          10         MPS indicates that 02 Micro has not paid the $339,315 that

                                               was taxed as costs by the Court and requests that the Court order
For the Northern District of California




                                          11
    United States District Court




                                          12   02 Micro to pay this amount with interest accruing from March 3,
                                          13   2011, the day the Court ordered 02 Micro to remit $339,315 in
                                          14
                                               taxable costs forthwith.     02 Micro does not respond to this
                                          15
                                               request.   Therefore, the Court orders 02 Micro immediately to pay
                                          16
                                               the $339,315 in costs previously taxed by the Court, with interest
                                          17
                                               at the legal rate accruing from March 3, 2011.
                                          18

                                          19                                   CONCLUSION

                                          20         For the foregoing reasons, the Court awards attorneys' fees

                                          21   in the amount of $8,419,429 and non-taxable costs in the amount of
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                                                 Case 4:08-cv-04567-CW Document 502 Filed 05/03/12 Page 10 of 10



                                               $663,151, with interest accruing as set forth in this Order.        A
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                                           2   separate judgment shall be entered by the Clerk of the Court.

                                           3
                                                    IT IS SO ORDERED.
                                           4

                                           5
                                               Dated: 5/3/2012
                                           6                                          CLAUDIA WILKEN
                                                                                      United States District Judge
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                                          10
For the Northern District of California




                                          11
    United States District Court




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